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                             UNITED STATES BANKRUPTCY COURT
                                                               UNITED STATES BANKRU
                             EASTERN DISTRICT OF CALIFORNIA     EASTERN DISTRICT OF


            Inre:                                  Case No. 14-21394-B-13

            PATRICK DAVID CLARK and SUZANNE        DC Nos. PP-7
            JANETTE CLARK,                                 ASH-3
                                                           ASH-4

                                Debtor(s).


                                         ANENDED
                            CONSOLIDATED MEMORANDUM DECISION:
                 (I) GRANTING MOTION TO CONVERT AND CONVERTING THIS CASE TO A
                 CHAPTER 7 CASE [DKT. 244]; (II) DENYING MOTION TO ALTER OR
                 AND ORDER DENYING MOTION TO QUASH [DKT. 232]; (III)
                 DENYING APPLICATION FOR RULE 2004 EXAMINATION AND QUASHING
                 RELATED SUBPOENAS [DKTS. 228, 237]; and (IV) DISCHARGING
                 ORDER TO SHOW CAUSE WITH NO FURTHER SANCTIONS (DKT. 2371


            INTRODUCTION
                 There are four matters presently before the court: (1) an
            application for a Rule 2004 examination filed by debtors Suzanne
            Clark and Patrick Clark on December 9, 2015 [dkt. 228];' (2) the
            debtors' motion to alter or amend an order denying the debtors'
            earlier motion to quash filed on December 14, 2015 [dkt. 232];
             (3) an order for debtors' former litigation and current
            bankruptcy counsel - Arthur Samuel Humphrey - to show cause why
            he should not be sanctioned, which order was entered by the court
            sua sponte on December 15, 2015 [dkt. 237]; and (4) a motion to
            convert this chapter 13 case to a chapter 7 case filed by S&J
            Advertising, Inc., on December 23, 2015 [dkt. 244]. 2 Facts


                    1-
                 To avoid confusion, "debtors" will refer to Patrick and
            Suzanne Clark and "co-debtor" will refer to Suzanne Clark.

                 2 The debtors are now represented in this chapter 13 case by
            their litigation attorney, Mr. Humphrey. Mr. Humphrey was
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            relevant to each matter are discussed within the section to which
            each motion relates. All four matters were heard and argued on
            January 20, 2016. Appearances were noted on the record. For the
            reasons explained below, the motion to convert will be granted
            and all other motions will be denied.


            JURISDICTION AND VENUE
                 Federal subject-matter jurisdiction is founded on 28 U.S.C.
            § 1334. Each of the matters addressed in this memorandum
            decision are core proceedings that a bankruptcy judge may hear
            and determine. 28 U.S.C. §§ 157(b) (2) (A) and (0). To the extent
            they may ever be determined to be matters that a bankruptcy judge
            may not hear and determine without consent, the parties
            nevertheless consent to such determination by a bankruptcy judge.
            28 U.S.C. § 157 (c) (2) . Venue is proper under 28 U.S.C. § 1409.


            I. ORDER GRANTING MOTION TO CONVERT AND CONVERTING THIS CASE TO
                 A CHAPTER 7 CASE (DKT. 2441

            Introduction
                 Presently before the court is a motion filed by S&J
            Advertising, Inc., to convert this chapter 13 case to a chapter 7
            case. The debtors have opposed the motion and the corporation
            has replied to the debtors' opposition. The court has reviewed
            the motion, the opposition, the reply, and all related exhibits
            and declarations.



            substituted for the debtors' former bankruptcy counsel on
            December 21, 2015. References to the debtors' litigation
            attorney are references to Mr. Humphrey.
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        1        The court held a hearing on the motion to convert on January
        21 20, 2016. At that time the court heard and considered arguments
            and statements in support of and opposition to the motion. For
            the reasons explained below, the court concludes there is cause
            under 11 U.S.C. § 1307(c) .    The court also concludes that
            because there are non-exempt assets available to pay creditors,
            conversion, rather than dismissal, is in the best interest of the
            creditors and the estate. See Nelson v. Meyer (In re Nelson),
            343 B.R. 671, 675 (9th Cir. BAP 2006) . Therefore, the motion to
            convert will be granted and this chapter 13 case converted to a
            case under chapter 7 of the Bankruptcy Code.


            Backcround and Statement of Facts
                 On October 16, 2015, the corporation filed an application to
            examine the debtors under Federal Rule of Bankruptcy Procedure
            2004. The court authorized those examinations in orders entered
            on October 20, 2015. Subpoenas compelling the debtors to produce
            documents by December 2, 2015, and appear for Rule 2004
            examinations at the office of the corporation's attorney at 2:00
            p.m. on December 4, 2015, issued on October 21, 2015.
                 The debtors moved to quash the corporation's Rule 2004
            subpoenas on November 3, 2015. The corporation opposed that



                 3Conversion is governed by § 1307(c) which states:
                 [O]n request of a party in interest, . . . and after
                 notice and a hearing, the court may convert a case
                 under this chapter to a case under chapter 7 of this
                 title, or may dismiss a case under this chapter,
                 whichever is in the best interests of creditors and the
                 estate, for cause[.]
            11 U.S.C. § 1307(c).
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        1    motion on November 18, 2015, and the debtors replied to that

        2    opposition on November 24, 2015. The court held a hearing on the

        3    debtors' motion to quash on December 2, 2015, and, at that time,

        4    denied the motion. The court also ordered the debtors to produce

        5    the subpoenaed documents and appear for Rule 2004 examinations at

        6    the offices of the corporation's attorney at 2:00 p.m. on

        7    December 4, 2015. The court placed its ruling on the record as

        8    follows:
        9         I'm denying the motion to quash. The debtors are
                  ordered to appear as noticed in the subpoena on Friday,
       10         December 4th, at 2:00 p.m., and they are directed to
                  produce the documents subject to cooperation between
       11         counsel. If there's a dispute as to the document
                  production, I'll hear it on very short notice.
       12
                  The court memorialized its oral ruling in civil minutes
       13
             filed on December 2, 2015, and a civil minute order entered on
       14
             December 8, 2015.
       15
                  Discussions after the hearing resulted in an agreement
       16
             between the debtors' litigation attorney and the corporation's
       17
             attorney to continue the court-ordered document production and
       18
             Rule 2004 examination date. At the request of and as an
        19
             accommodation to the debtors, the date for document production
       20
             was extended to December 17, 2015, and the court-ordered Rule
       21
             2004 examinations were continued to December 21, 2015.
       22
                  Despite these extensions, on December 14, 2015, the debtors'
       23
             litigation attorney sent the corporation's attorney an email
       24
             stating that the debtors would not produce documents by December
       25
             17, 2015, and they would not appear for Rule 2004 examinations on
       26
             December 21, 2015, as ordered. Consistent with that email,
       27
             subpoenaed documents were not produced by December 17, 2015, and
        28
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             the debtors failed to appear for their Rule 2004 examinations on
             December 21, 2015.
                  Debtors informed the corporation's attorney they could
             ignore the court's December 2, 2015, order to produce documents
             and appear for Rule 2004 examinations because the order was
             subject to clarification in the event of a dispute, and on

        7    December 14, 2015, they moved to alter or amend that order which

        8    meant they were free to disobey the court's order until the

        9    motion to alter or amend was decided. Regarding the latter, the

       10    debtors relied on (and referred the corporation's attorney to)

       11    two cases to support their position: Creative Data Forms, Inc. v.

       12    Pa. Minority Bus. Dev. Auth. (In re Creative Data Forms, Inc.),

       13    72 B.R. 619 (Bankr. E.D. Pa. 1985), and In re Reading

       14    Broadcasting, Inc., 386 B.R. 562 (Bankr. E.D. Pa. 1982).

       15         The debtors' decision to disobey this court's order of

        16   December 8, 2015, is part of a larger and continuing pattern of

        17   an abuse of the chapter 13 process in which the debtors have

        18   engaged from the inception of this case. And that abuse relates

        19   primarily to the manipulation and knowing undervaluation of the

       20    co-debtor's 50% interest in the corporation which is to be sold

       21    and the proceeds used to pay creditors. The debtors manipulated

       22    and knowingly undervalued that interest in order to confirm plans

       23    with substantially reduced payments to unsecured creditors and,

        24   in turn, enhance the retention of non-exempt assets for their own

        25   personal benefit.
        26        The debtors filed a chapter 13 petition on February 14,
        27   2014, and with that petition filed schedules - under penalty of

        28   perjury - in which they valued the co-debtor's 50% interest in

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        1 the corporation at $42,250. The debtors also filed a plan with
        2 the petition and schedules. That plan provided for payment of
        3 approximately 50% to unsecured creditors.
        4        Approximately one month after the petition, schedules and
            initial plan were filed, on or about March 3, 2014, the
            corporation provided the debtors with an appraisal which stated
            that 100% of the equity in the corporation was valued at
            $811,000. The debtors made no effort to amend their schedules to
            reflect the substantial difference in the valuation of the co-
            debtor's 50% interest in the corporation between the schedules
            filed with the petition and the appraisal. In fact, there is no
            indication that the debtors made any disclosure of this valuation
            or the appraisal to the court, the trustee, or creditors.
            Instead, based on the representation in the schedules that the
            co-debtor's 50% interest in the corporation was worth only
            $42,250, on May 12, 2014, the debtors obtained confirmation of
            the initial plan which provided for payment of 50% of unsecured
            claims.
                 Two days after the plan was confirmed, on May 14, 2014, the
            debtors filed a first modified plan and motion to confirm it.
            The proposed payments to unsecured creditors in this first
            modified plan were again based on the value of the debtors' non-
            exempt assets which the debtors stated was $58,036 and which
            included the co-debtor's 50% interest in the corporation valued
            at $42,250. Again, although in March 2014 the debtors received
            an appraisal which valued 100% of the corporate interest at
            $811,000, the schedules were not amended and there was no
            disclosure that the co-debtor's 50% interest may be worth more

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        1    than $42,250. And yet, this time, the debtors proposed a plan

        2    that reduced payments to unsecured creditors to 10%.
        3    Confirmation of this plan was denied on July 8, 2014. Three

        4    weeks later, on July 30, 2014, the debtors received an offer from

        5    the corporation to purchase the co-debtor's 50% interest for

        6    $200,000, plus additional payments over time.

        7         Despite (1) the March appraisal which valued 100% of the

        8    shares of the corporation at $811,000 (and thus the co-debtor's

        9    50% interest at $405,500) and (2) the corporation's July 2014

       10    offer to purchase the co-debtor's 50% interest in the corporation

       11    for $200,000, on September 2, 2014, the debtors filed amended

       12    Schedules B and C in which they again valued the co-debtor's 50%

       13    interest in the corporation at $42,250. Based on the valuation

       14    of non-exempt assets that included a valuation of the co-debtors'

        15   50% interest at $42,250, and despite knowing that the interest

        16   could be worth between $200,000 and $400,000, on September 2,

        17   2014, the debtors also filed a second modified plan in which they

        18   proposed to reduce payments to unsecured creditors from 50% to

        19   10%. Even more troubling, just six days later, on September 8,

       20    2014, the debtors received a third-party offer to purchase 100%

       21    of the corporate shares for a staggering $1,200,000. None of

       22    these values or offers were disclosed and, yet, knowing that the

       23    co-debtor's 50% interest in the corporation could be worth

        24   upwards of $600,000, the debtors allowed the court to confirm

        25   their 10% repayment plan on October 16, 2014.
        26        It was not until March 10, 2015, and then only after the

        27   corporation informed the court that the co-debtor's 50% interest

        28   in the corporation was likely to be valued at over $200,000 in a

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        1    joint appraisal prepared by the debtors' appraiser and one
        2    selected by the corporation in a pending state court proceeding

        3    under California Corporations Code § 2000, that the debtors filed

        4    the third modified plan and motion to confirm it. The third

        5    modified plan was proposed as a 100% repayment plan based on the

        6    anticipated valuation of the co-debtor's 50% corporate interest

        7    in the California Corporations Code § 2000 proceeding. The third

        8    modified plan was confirmed in an order entered on May 18, 2015.

        9         After the third modified plan was confirmed, on or about
       10    June 6, 2015, an appraiser selected by the debtors and another

       11    selected by the corporation prepared a joint appraisal in which

       12    they valued the co-debtor's 50% corporate interest at $247,000.

       13    Nearly a year and a half after the petition was filed, after
       14    numerous sworn statements that the co-debtor's 50% interest was

       15    worth only $42,250 knowing it was likely worth more, and two

       16    confirmed plans with substantially reduced payments to unsecured

        17   creditors based on a knowing undervaluation, the debtors now

        18   claim the $247,000 value is too low. 5
        19
       20         4 This third modified plan was filed and confirmed based on
             the representation it was a 100% repayment plan, but on July 8,
       21
             2015, the debtors' former bankruptcy counsel informed the court
       22    the plan was in fact not a 100% plan.

       23         5 1t appears the debtors now claim the $247,000 valuation is
             too low because they are obligated to pay litigation attorney's
       24    fees from any surplus distribution from the sale of that
             interest. This is somewhat disconcerting in two respects.
       25    First, the disclosure that the debtors' litigation attorney is to
        26   be paid from surplus proceeds from the sale of the co-debtor' s
             50% interest in the corporation was made in § 329(a) disclosures
        27   submitted over a year after the petition was filed and only after
             the court required these disclosures before confirming the third
        28   modified plan. Again, this is another instance in which the

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        1    Discussion

        2    Material Default by the Debtors With Respect to the Term of a
             Confirmed Plan
        3
                  Cause is defined in § 1307(c) to include a "material default
        4
             by the debtor with respect to a term of a confirmed plan." 11
        5
             U.S.C. § 1307 (c) (6) . The debtors' obligation to appear in court
        6
             when ordered by the court to do so is a material term of the
        7
             debtors' confirmed third modified plan inasmuch as the order
        8
             confirming that plan states: "The debtor shall appear in court
        9
             whenever notified by the court to do so." This court's order of
       10
             December 2, 2015, ordering the debtors to appear for Rule 2004
       11
             examinations is an order for the debtors to appear in court.
       12
                  The current version of Rule 2004 is derived from Section
       13
             21(a) of the Bankruptcy Act of 1898 and former Federal Rule of
       14
             Bankruptcy Procedure 205. See Lawrence P. King et al., Collier
       15
             on Bankruptcy, Part 3(a) at 3-23 (15th ed. 1996); William T.
       16
             Laube and Asa S. Herzog, Bankruptcy Act And Rules, p.a-438
       17
             (Matthew Bender 1973) . In relevant part, § 21 (a) of the
        18
             Bankruptcy Act of 1898 states that "[a] court of bankruptcy may,
        19
             ..., by order require any designated person, including the
       20
             bankrupt and his wife, to appear in court or before a referee
       21
                  to be examined concerning the acts, conduct, or property of
       22
             a bankrupt whose estate is in process of administration under
       23
       24
             debtors were less than forthcoming with timely, accurate, and
       25    truthful information. Second, this gives the debtors' litigation
       26    attorney a personal and financial stake in this bankruptcy case
             which may conflict with the best interest of the creditors and
       27    the estate. In other words, the debtors' litigation attorney
             finds himself in a position where he may have been tempted to
       28    place his desire to be paid over interests of paying creditors.

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        1 this Act[.]" (Emphasis added). As amended in 1938, § 21(a) of
        2 the 1898 Bankruptcy Act states in relevant part: "The court may,
        3 upon application ..., by order require any designated persons,

        4   including the bankrupt ... to appear before the court... to be
            examined concerning the acts, conduct, or property of a
            bankrupt." (Emphasis added).
                 Former Federal Rule of Bankruptcy Procedure 205, which took
            effect on October 1, 1973, did not specifically require
            examinations to be conducted in the courtroom. As the court in
            In re Symington, 209 B.R. 678 (Bankr. D. Nd. 1993), explained:
                 On October 1, 1973, when the Federal Rules of
                 Bankruptcy Procedure went into effect, Bankruptcy Rule
                 205 did not specifically require that bankruptcy
                 examinations be conducted in open court. See 12
                 Collier on Bankruptcy ¶ 205.11 (14th ed. 1978) . The
                 practice since 1973 has been to hold bankruptcy
                 examinations outside of the presence of the court, in
                 the same manner as pretrial discovery is conducted
                 under the Federal Rules of Civil Procedure.
            Id. at 693.
                 Rule 205 did not and, under the Rules Enabling Act at 28
            U.S.0 § 2075, could not change substantive provisions of the
            Bankruptcy Act. In other words, the Rules of Bankruptcy
            Procedure were adopted to govern the procedural aspects of
            substantive statutory provisions but did not change the
            substantive law as it existed. See In re Tallerico, 523 B.R.
            774, 783-84 (Bankr. E.D. Cal. 2015) (explaining that 1973 rules
            were limited to procedural matters in compliance with the Rules
            Enabling Act)
                 Given the silence in Rule 205 as to where an examination was
            to take place, it follows that the location of the examination
            was viewed as a procedural matter removed from statute within the

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            boundaries of the Rules Enabling Act. j. (explaining that rule
            drafters were careful to recognize procedural/substantive
            boundaries) . The substantive provision of the Bankruptcy Act
            that characterized an examination of the debtor as a proceeding
            before the bankruptcy court was unaffected by Rule 205 and,
            subsequently, by Rule 2004. Thus, although permissible to
            conduct a Rule 2004 examination outside the confines of a
            courtroom, the examination itself substantively remains a
            proceeding in or before the bankruptcy court now just as it was
            under the 1898 Bankruptcy Act. See In re Samuelsohn, 174 F. 911,
            912 (W.D.N.Y. 1909) (describing examination testimony given by
            debtor during course of bankruptcy case as part of the record in
            the bankruptcy proceeding) . That means when the debtors
            disobeyed this court's order of December 2, 2015, and failed to
            appear for Rule 2004 examinations, they failed to appear in court
            when they were ordered to do so and as they were required to do
            by a material term of the confirmed third modified plan. That

            constitutes a default.
                 In short, the debtors' decision to disobey this court's
            order to appear for Rule 2004 examinations is a material default
            by the debtors with respect to a term of the confirmed third
            modified plan. That, in turn, is cause under § 1307 (c) (6)
            And the reasons given by the debtors in an effort to support
            their decision to disobey the court's December 2, 2015, order are
            not persuasive or credible. And they do not negate the existence

            of cause.
                 The court's order for the debtors to appear for Rule 2004
            examinations was clear, specific, and direct. Whereas the order

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        1    to produce documents was subject to intervention by the court, on
        2    very short notice, in the event of a dispute regarding

        3    production, the order to appear for examinations was not. The
        4    latter was direct and unconditional.
        5         Even assuming the debtors understood that both aspects of

        6    the court's order, i.e., document production and Rule 2004

        7    appearances, were subject to further court intervention in the

        8    event of a dispute, the debtors failed to seek that intervention

        9    before the continued examination date. Instead, they waited
       10    twelve days to file a motion to alter or amend the court's
       11    December 2, 2015, order and filed that motion seven days before

       12    the continued examination date. Instead of asking the court to
       13    hear that motion on shortened notice, see LR 9014-1(f) (3), the

       14    debtors set the motion for hearing under Local Rule 9014-1(f) (1)

        15   which requires at least 28 days' notice resulting in a hearing
        16   date of January 20, 2016 - nearly a month after the date on which
        17   they were to appear for Rule 2004 examinations.
        18        The court is persuaded that the debtors' decision to set a

        19   hearing on the motion to alter or amend was a tactical decision

       20    made for the purposes of delay. This is apparent from the
       21    position the debtors and their litigation attorney took from the

       22    day the motion to alter or amend was filed on December 14, 2015,
       23    through the date of their non-appearance on December 21, 2015;
       24    namely, that the pending motion to alter or amend gave them
        25   license to disobey the court's order to appear for their Rule
        26   2004 examinations until that motion was decided. The debtors'
        27   argument is completely lacking in merit.
        28        The debtors cited two cases to support the position that

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        1    they could freely disobey this court's order until the motion to
        2    alter or amend was decided: Creative Data Forms, 72 B.R. 619,

        ci and Reading BroadcastinQ, 386 B.R. 562. Not only are those cases
        4    not binding on this court, but they are not even persuasive

        5    authority. Neither case stands for the proposition - even

        6    remotely - that a party may willfully disobey a court order so

        7    long as a motion to alter or amend is filed and pending before

        8    compliance is required. Rather, both cases stand for the

        9    unremarkable proposition that a motion to alter or amend prevents

       10    an order from becoming final for purposes of filing an appeal and

       11    the time to file a notice of appeal. That is also stated in Rule

       12    8002 (b) (1) . But that does not mean a party is free to disregard

       13    an order.
       14         Several courts have held that a pending motion to alter or

       15    amend an order does not permit a party to disobey the order

       16    subject to the motion. See In re Petro, 18 B.R. 566, 568-69

       17    (Bankr. E.D. Pa. 1982) (stating that debtors are free to petition

        18   the court to modify an order they disagreed with but pending

        19   motion did not excuse compliance with order absent a stay even if
       20    order was erroneous, improper, or unconstitutional); Azpitarte v.

       21    King County, 2009 WL 939124 At *1 (W.D. Wa. 2009) ("[A] pending
       22    motion [to amend] does not authorize a party to disobey an
       23    explicit Court order[.]") . Moreover, such a rule could not be
       24    reconciled with well-established Supreme Court and Ninth Circuit
       25    authority.
       26         The U.S. Supreme Court has made it abundantly clear that a
       27    party is not free to disobey a federal court order even if it
       28    dislikes, disputes, or disagrees with the order. In Maness v.

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        1    Meyers, 419 U.S. 449 (1975), the Supreme Court stated: "If a

        2    person to whom a court directs an order believes that order is

        3    incorrect, the remedy is to appeal, but, absent a stay, he must

        4    comply promptly with the order pending appeal." j. at 458. The

        5    Ninth Circuit has also made abundantly clear that there are no

        6    circumstances - not even exceptional circumstances - that warrant

        7    disobedience with a federal court order even if the party or its

        8    attorney disagrees with or dislikes the order and even if the

        9    order is erroneous or improper. In Crystal Palace Gambling Hall,
       10    Inc. v. Mark Twain Indus. (In re Crystal Palace Gambling Hall,
       11    Inc.), 817 F.2d 1361 (9th Cir. 1986), the Ninth Circuit stated:

       12         If the appellants believed that the district court
                  incorrectly issued an order, their remedy was to appeal
       13         and request a stay pending the appeal. Maness v.
                  Meyers, 419 U.S. 449, 458, 95 S.Ct. 584, 590, 42 L. Ed.
       14         2d 574 (1975); see also Chapman V. Pacific Telephone
                  and Telegraph Co., 613 F.2d 193, 197 (9th Cir. 1979).
       15         Absent a stay, all orders and judgments of courts must
                  be complied with promptly. Mazzola, 716 F.2d at 1240
        16         (quoting Maness v. Meyers, 419 U.S. 449, 458, 95 S. Ct.
                  584, 590, 42 L. Ed. 2d 574 (1975)). Although both
        17        Crystal Palace and the shareholders appealed, no stay
                  was obtained. A party cannot disobey a court order and
        18        later argue that there were 'exceptional circumstances'
                  for doing so. This proposed 'good faith' exception to
        19        the requirement of obedience to a court order has no
                  basis in law, and we reject the invitation to create
       20         such an exception. The appellants were not justified
                  by exceptional circumstances in disobeying the court's
       21         order.
       22 1i5;i. at 1365.
       23         In light of this otherwise clear, unambiguous, and binding

       24    authority, the court gives no weight or credence to the debtors'
       25    efforts to excuse or justify their disobedience with the December
        26   2, 2015, order to appear for Rule 2004 examinations or the

        27   ensuing material default under the confirmed third modified plan.
        28   If the debtors or their litigation attorney disliked, disputed,

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        1    or disagreed with the order to appear, they could have appealed

        2    (or sought leave to appeal) that order and sought a stay pending

        3    the appeal. They also could have sought relief from that order
        4    before the date they were required to comply with the order.
        5    They did neither. Instead, they elected to deliberately disobey
        6    the order and failed to appear for Rule 2004 examinations. And

        7    in so doing, the debtors placed themselves in default of a
             material term of the confirmed third modified plan. That is
        9    cause under § 1307 (c) (6).
       10
       11    Additional Cause Based on the Totality of the Circumstances
       12         In addition to the non-exclusive statutory list under

       13    § 1307 (c), the administration of a chapter 13 case in a manner

        14   that constitutes an abuse of the bankruptcy or chapter 13 process

        15   is cause for conversion. In re Leavitt, 171 F.3d 1219, 1224 (9th

        16   Cir. 1999) (citation omitted) . The following factors are
        17   considered in making this determination: (1) whether the debtor

        18   misrepresented facts in the petition or plan, or unfairly

        19   manipulated the Bankruptcy Code; (2) the debtor's history of
       20    filings and dismissals; (3) whether the debtor intended to defeat
       21    state court litigation; and (4) whether egregious behavior is
       22    present. A bankruptcy court is not required to find that each
       23    factor is satisfied or even weigh each factor equally. Khan v.
        24   Curry (In re Khan), 523 B.R. 175, 185 (9th Cir. BAP 2014)
        25   (citation omitted) . Rather, these factors are tools in
        26   considering the totality of the circumstances. j.
        27        Two of the four factors are not applicable in this case,
        28   i.e, the debtors' history of filings and dismissals and whether

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        1 the debtors only intended to defeat state court litigation.
        II However, the exclusion of those factors does not end the court's

        ci analysis. See Meyer v. Lepe (In re Lepe), 470 B.R. 851, 863 (9th
            Cir. SAP 2012) . Therefore, the court considers whether the
            debtors misrepresented facts in the context of any plan or filed
            any plan in any inequitable manner and whether egregious behavior
            is present. Weighing these factors, the court finds both weigh
            heavily in favor of a finding of additional cause.
                 From the inception of this case, the debtors have been less
            than truthful. Knowing that the co-debtor's 50% interest in the
            corporation was worth between $200,000 and $600,000, the debtors
            filed schedules and amended schedules in which they stated under
            oath the interest was worth only $42,250. The debtors then
            manipulated and abused the confirmation process by using the
            intentionally understated value to confirm plans that provided
            for artificially reduced payments to creditors and increased
            their share of non-exempt assets.
                 Had the debtors accurately valued the co-debtor's 50%
            corporate interest consistent with information within their
            possession, the terms of any plan would have required payments to
            unsecured creditors well in excess of ten and fifty percent. In
            that regard, the debtors deceived not only their creditors and
            the trustee, but, the court as well.
                 When truthful and accurate information is the exception and
            not the rule, and when the confirmation process is repeatedly
            manipulated as was done in this case, the chapter 13 process is
            abused. Therefore, based on the debtors' conduct in this case as
            it pertains to the intentional undervaluation of the co-debtor's

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        1    50% interest in the corporation for purposes of manipulating the

        2    chapter 13 process in general - and the plan confirmation process

        3    in particular - the court concludes there is additional cause
        4    under § 1307 (c) based on what the court finds is a strong

        5    satisfaction of at least two of the Leavitt factors.

        6
        7    Debtors' Remaining Oblections are Overruled

        8          In making its determination, the court has considered and

        9    overrules the debtors remaining objections to conversion.

       10          To the extent the debtors contend conversion is unfair to

       11    their interests, the relevant consideration under § 1307 (c) is

       12    what is in the best interest of the creditors and the estate, not

       13    the debtors. This objection is overruled.
       14          The objection that conversion is a breach by the corporation

       15     and its other director of fiduciary duties owed the co-debtor as

       16     a minority shareholder is overruled. The debtor is not a

       17    I minority   shareholder. Moreover, the corporation's actions in

        18    seeking conversion as a party in interest are also post-petition

        19    actions authorized under and expressly sanctioned by the

       20     Bankruptcy Code and within the jurisdiction of this court.

       21          The objection that the debtors are unable to respond due to

       22     the unavailability of evidence necessary to oppose the motion to

       23     convert is overruled because, in reaching its decision, the court

       24     has not relied (and need not rely) on the facts for which the

       25     debtors contend evidence is necessary, i.e., (1) that the debtors

       26     have appealed from interlocutory orders without the necessary
       27     motion for leave, (2) that the debtors have conducted meritless

       28     post-petition litigation, and (3) that the debtors and litigation

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        1    attorney violated court orders barring discovery related to
        2    transfer and valuation of the co-debtor's corporate interest.

        3    The debtors also fail to articulate what the purported additional
        4    evidence is.
        5         The objection that the motion to convert is an improper

        6    revocation of the order confirming the third modified plan is

        7    overruled. Revocation of a confirmation order under 11 U.S.C.

        8    § 1330 and conversion under § 1307(c) are different events.

        9    Whereas § 1330 permits the court to revoke a confirmation order,

       10    § 1307(c) permits the court to dismiss or convert a case if a

       11    confirmation order is revoked.
       12         Debtors' res judicata argument is overruled. In making its

       13    determination to convert, the court is required to consider the

       14    totality of the circumstances as explained above. The debtors'

       15    default under the third modified plan is also a post-confirmation

       16 I event.
        17        The objection that the corporation lacks standing under Rule

        18   2004 is overruled. Federal Rule of Bankruptcy Procedure 2004

        19   states that "[o]n motion of any party in interest, the court may
       20    order the examination of any entity." Fed. R. Bankr. P. 2004(a).
       21    standing under Rule 2004 only requires "party in interest"
       22     status. The court has already ruled that the corporation is a
       23     "party in interest" in this chapter 13 case. On January 27,
       24     2015, the corporation moved for relief from the automatic stay in

       25    order to continue with California corporations code § 2000
       26    proceeding pending before the state court. The debtors opposed
       27    that motion on the basis that the corporation lacked standing
        28   l because it was not a "party in interest." The court overruled
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        1    that objection, found and stated on the record that the
        2    corporation is a "party in interest," and granted the
        3    corporation's motion to allow the state court to proceed with

        4    valuation of the co-debtor's 50% corporate interest. The debtors
        5    did not appeal that order and the time to do so is long passed. 6

        6         Finally, the objection to the absence of an order that

        7    requires the corporation, its principal, and its attorney to show

        8    cause why they should not be sanctioned is overruled. As a

        9    matter of treating the parties equitably, the debtors suggest
       10    that if their litigation attorney is subject to sanctions for the

       11    reasons stated in the order to show cause discussed below, then

       12    so too are the corporation, its principal, and its attorney. As

       13    is also explained below, the court's order to show cause directed

       14    to the debtors' litigation attorney will be discharged and no

       15    further sanctions ordered. Treating the parties equitably, the

       16    court overrules this objection as it pertains to the corporation,

        17   its principal, and its attorney and denies the debtors' request
        18   to the extent the objection could be construed as such.
        19
       20
       21
       22
       23
       24         6The court also notes that the corporation has a financial
             interest at stake in this case. It is identified as the party
       25    who will fund the plan by purchasing the co-debtor's 50%
       26    corporate interest and it is potentially liable for substantial
             attorney's fees if it does not. The debtors' opposition to the
       27    motion to convert also identifies the corporation as a
             "creditor." See In re Gucci, Inc., 126 F.3d 380, 388 (2nd Cir.
       28    1997); see also In re PRTC, 177 F.3d 774, 777 (9th Cir. 1999).

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        1   Conversion Over Dismissal
        2        Having found that there is cause to convert or dismiss under
            § 1307(c), the court concludes that conversion rather than
            dismissal is in the best interest of the creditors and the
            estate. Given that the co-debtor's 50% corporate interest has
            been jointly valued by an appraiser selected by the debtors and
            another selected by the corporation, and given that the debtors
            have repeatedly and knowingly manipulated and undervalued that
            interest, in the course of performing his/her statutory duties, a
            chapter 7 trustee will be able to determine if that valuation is
            appropriate or if the estate should incur the administrative
            expense associated with further litigation over the joint
            valuation. In any case, there are significant non-exempt assets
            valued at well over $42,250 from which creditors may be paid.


            Conclusion
                 In sum, cause exists under § 1307(c), and specifically under
            § 1307 (c) (6) . And based on the significant non-exempt assets
            available to pay creditors, conversion rather than dismissal is
            in the best interest of the creditors and the estate. Therefore,
            the motion to convert is GRANTED and this case is ordered
            converted to a case under chapter 7 of the Bankruptcy Code.
                 A separate order will issue.




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        1   II. ORDER DENYING MOTION TO ALTER OR AND ORDER DENYING MOTION
                 TO QUASH (Dkt. 2321
        2
        3 Introduction
        4        This is a motion by the debtors to alter or amend the order
            placed on the record on December 2, 2015, as memorialized in
            civil minutes entered December 4, 2015, and a civil minute order
            entered on December 8, 2015. The December 8, 2015, order denied
            the debtors' motion to quash subpoenas served on the debtors
            compelling document production and attendance at Rule 2004
            examinations.
                 The court heard this motion on January 20, 2016.
            Appearances were noted on the record. The court denied this
            motion for reasons stated on the record. This order supplements
            the court's oral ruling stated on the record in open court on
            January 20, 2016.


            Discussion
                 The debtors' motion to alter or amend was filed within
            fourteen days and under Federal Rules of Civil Procedure 52(b)
            and 59(e) as made applicable by, respectively, Federal Rules of
            Bankruptcy Procedure 7052 and 9023. In a recent opinion,
            Tattersalls, Ltd. v. DeHaven, 745 3 F.3d 1294 (9th Cir. 2014),
            the Ninth Circuit explained that if a court makes a substantive
            change in its decision, the judgment must be amended under
            Federal Rule of Civil Procedure 59(e) . Id. at 1299.
                 Amending a judgment under Rule 59(e)/9023 after its entry is
            an extraordinary remedy which should be used sparingly. Allstate
            Ins. Co. v. Herron, 634 F.3d 1101, 1111 (9th Cir. 2011). A Rule

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        1    59(e)/9023 motion may not be used to raise arguments or present
        2    evidence for the first time that could have been raised or

        3    presented earlier in the litigation. Kona Enter., Inc. v. Estate

        4    of Bishop, 229 F.3d 877, 890 (9th Cir. 2000) (citation omitted).

        5    Such a motion may only be granted on one of four grounds: (1) if

        6    such motion is necessary to correct manifest errors of law or

        7    fact upon which the judgment rests; (2) if such motion is

        8    necessary to present newly discovered or previously unavailable

        9    evidence; (3) if such motion is necessary to prevent manifest

       10    injustice; or (4) if the amendment is justified by an intervening

       11    change in controlling law. Allstate, 634 F.3d at 1111.

       12         Debtors assert the remedy afforded under Rule 59(e)/9023 is

       13    appropriate in this case for two reasons: (1) to correct manifest

       14    errors of law and fact; and (2) to prevent manifest injustice.

       15    Debtors' arguments are without merit. Each of the arguments the

        16   debtors now raise in the motion to alter or amend are either new

        17   arguments raised for the first time on reconsideration but which

        18   could have been raised with the debtors' initial motion to quash,

        19   or have already been considered and rejected.
       20         The debtors challenge the corporation's standing under Rule

       21    2004. The court overrules this objection for the reasons stated

       22    in Section I, supra, which are incorporated herein by this
       23 I reference.
       24         The debtors remaining arguments regarding the corporation's
        25   use of Rule 2004 for plan revocation purposes and the authority
        26   of the corporation's other shareholder could (and should) have
        27   been raised with the initial motion to quash. They were not and
        28   the debtors offer no explanation for their failure or inability

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        ii to raise those arguments initially with the motion to quash.

        2         The only arguments made in support of the motion to quash

        3    were (1) that the corporation could not use Rule 2004 but,

        4    rather, had to obtain any discovery under the Federal Rules of

        5    Civil Procedure because of pending California Corporation § 2000

        6    proceedings; and (2) the corporation had not demonstrated good

        7    cause. The court rejected both arguments finding (1) that the

        8    discovery sought by the corporation under Rule 2004 was unrelated

        9    to the California Corporations Code § 2000 proceedings and
       10    therefore the use of Rule 2004 was appropriate, and (2) inasmuch

       11    as the corporation invoked Rule 2004 to ascertain if the debtors

       12    engaged in any wrongdoing with respect to their duties and

       13    obligations under the Bankruptcy Code and under the confirmed

       14    third modified plan, the use of Rule 2004 was appropriate and

       15    good cause for its use was shown. The debtors said nothing about

        16   plan revocation under § 1330 or the corporation's or its

        17   principal's authority to invoke Rule 2004. The court will not

        18   entertain those arguments now, raised for the first time on

        19   reconsideration, when they easily could (and should) have been

       20    raised initially with the motion to quash.
       21          Therefore, based on all the foregoing and for the reasons

       22    previously stated on the record on January 20, 2016, the debtors'

       23    motion to alter or amend the court's December 8, 2015, order

       24    denying the debtors' motion to quash the corporation's Rule 2004

       25     subpoenas, ordering the debtors to produce documents, and
        26   l ordering the debtors to appear for Rule 2004 examinations is
        27    DENIED.
        28         A separate order will issue.

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        1    III. ORDER DENYING APPLICATION FOR RULE 2004 EXAMINATION AND
                  QUASHING RELATED SUBPOENA [Dkts. 228, 237]
        2
                  On December 9, 2015, the debtors filed an application to
        3
             examine the corporation and its principal under Rule 2004 with a
        4,
             related subpoena for document production and compelling
        5
             attendance. The application was set by the court for hearing,
        6
             and was heard, on January 20, 2016. Appearances were noted on
        7
             the record. For the reasons explained below, the application
        8
             will be denied and the related subpoena quashed.
        9
                  As ordered in Section I, this case is converted to a chapter
       10
             7 case. The debtors' Rule 2004 application states that the
       11
             purpose of the requested examination and document production is
       12
             to determine the debtors' and estate's rights to compel
       13
             distributions from the corporation and any claims the debtors may
       14
             have against the corporation for wrongful distribution. On pages
       15
             9-10 of the document filed at docket no. 258, which is the
       16
             debtors' opposition to this court's order to show cause entered
        17
             on December 15, 2015, and discussed in Section IV, infra, the
        18
             debtors suggest that the Rule 2004 examination and document
        19
             production are also necessary to determine if the debtors can
       20
             perform under the third modified plan if the corporation
       21
             dissolves. Since this case is now converted, any cause of action
       22
             against the corporation, if any, will be brought by the chapter 7
       23
             trustee. And given conversion, plan performance and
       24
             implementation are no longer an issue.
       25
                  Therefore, for the foregoing reasons, the debtors'
       26
             application for an order permitting Rule 2004 examinations of the
       27
       28

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        III   corporation and its principal is DENIED and the related subpoenas
              are QUASHED.
                   A separate order will issue.


              IV. ORDER DISCHARGING ORDER TO SHOW CAUSE WITH NO FURTHER
                   SANCTIONS (Dkt. 2371
                   On December 15, 2015, the court entered an order to show
              cause directing debtors' litigation attorney to show cause why he
              should not be sanctioned for attempting to use the debtors'
              December 9, 2015, Rule 2004 application and subpoena to obtain
              discovery related to a stayed evidentiary hearing on the
              valuation and transfer of the co-debtor's 50% corporate interest.
              The court heard this matter on January 20, 2016. Appearances
              were noted on the record.
                   The court stayed an evidentiary hearing on the valuation and
              transfer of co-debtor's 50% corporate interest under California
              Corporations Code § 2000 after the debtors appealed from two
              orders the court considers interlocutory orders related to that
              matter. The court stayed the evidentiary hearing in order to
              allow the district court to decide if it is necessary to construe
              the debtors' notices of appeal as motions for leave to appeal
              and, if so, whether it will hear the appeals. The possibility of
              sanctions was based on what the court perceived as an attempt by
              the debtors to use the Rule 2004 process and related subpoena
              discussed in Section III, supra, to circumvent that stay and
              obtain discovery related to the valuation and transfer
              proceedings.
                   Since the debtors' Rule 2004 application has now been denied


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        1 and the related subpoena quashed as ordered in Section III,
        2 supra, the order to show cause will be DISCHARGED as moot. No
        3 further sanctions are ordered.
        4        A separate order will issue.
                 Dated: February 3, 2016.



                                  NITED STATES BANKRTCY JUDGE




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                                      INSTRUCTIONS TO CLERK OF COURT
                                               SERVICE LIST
                  The Clerk of Court is instructed to send the attached
             document, via the BNC, to the following parties:

             Arthur Samuel Humphrey
             78 Cernon St #A
             Vacaville CA 95688

             W. ScottdeBie
             P.O. Box 981444
             West Sacramento CA 95798

             Thomas R. Phiimey
             400 Capitol Mall, Suite 2560
             Sacramento CA 95814

             Jan P. Johnson
             P0 Box 1708
             Sacramento CA 95812




        27
        28

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